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                     EXHIBIT 1
Case 3:17-cv-00072-NKM-JCH Document 103-1 Filed 11/14/17 Page 2 of 13 Pageid#: 473




                   SECOND SUPPLEMENTAL CERTIFICATE OF SERVICE

          I hereby certify that on November 2, 2017, I electronically filed the Motion for Pro Hac

   Vice Admission of Roberta A. Kaplan (with its initial certificate of service) with the Clerk of the

   Court using the CM/ECF system, and entered as Docket Entry 66. On November 9, 2017, I

   electronically filed a First Supplemental Certificate of Service for said motion (see Docket Entry

   91). I hereby further certify, on November 14, 2017, that I have also served the following

   additional non-ECF participant with said motion, via U.S. mail, First Class and postage prepaid:


   Jason Kessler
   207 Pineridge Lane
   Charlottesville, VA 22911


                                                        s/ Robert T. Cahill
                                                        Robert T. Cahill (VSB 38562)
                                                        COOLEY LLP
                                                        11951 Freedom Drive, 14th Floor
                                                        Reston, VA 20190-5656
                                                        Telephone: (703) 456-8000
                                                        Fax: (703) 456-8100
                                                        Email: rcahill@cooley.com

                                                        Counsel for Plaintiffs
Case 3:17-cv-00072-NKM-JCH Document 103-1 Filed 11/14/17 Page 3 of 13 Pageid#: 474




                   SECOND SUPPLEMENTAL CERTIFICATE OF SERVICE

          I hereby certify that on November 3, 2017, I electronically filed the Motion for Pro Hac

   Vice Admission of Alan Levine (with its initial certificate of service) with the Clerk of the Court

   using the CM/ECF system, and entered as Docket Entry 68. On November 9, 2017, I

   electronically filed a First Supplemental Certificate of Service for said motion (see Docket Entry

   91). I hereby further certify, on November 14, 2017, that I have also served the following

   additional non-ECF participant with said motion, via U.S. mail, First Class and postage prepaid:


   Jason Kessler
   207 Pineridge Lane
   Charlottesville, VA 22911


                                                        s/ Robert T. Cahill
                                                        Robert T. Cahill (VSB 38562)
                                                        COOLEY LLP
                                                        11951 Freedom Drive, 14th Floor
                                                        Reston, VA 20190-5656
                                                        Telephone: (703) 456-8000
                                                        Fax: (703) 456-8100
                                                        Email: rcahill@cooley.com

                                                        Counsel for Plaintiffs
Case 3:17-cv-00072-NKM-JCH Document 103-1 Filed 11/14/17 Page 4 of 13 Pageid#: 475




                   SECOND SUPPLEMENTAL CERTIFICATE OF SERVICE

          I hereby certify that on November 3, 2017, I electronically filed the Motion for Pro Hac

   Vice Admission of David E. Mills (with its initial certificate of service) with the Clerk of the

   Court using the CM/ECF system, and entered as Docket Entry 69. On November 9, 2017, I

   electronically filed a First Supplemental Certificate of Service for said motion (see Docket Entry

   91). I hereby further certify, on November 14, 2017, that I have also served the following

   additional non-ECF participant with said motion, via U.S. mail, First Class and postage prepaid:


   Jason Kessler
   207 Pineridge Lane
   Charlottesville, VA 22911


                                                         s/ Robert T. Cahill
                                                         Robert T. Cahill (VSB 38562)
                                                         COOLEY LLP
                                                         11951 Freedom Drive, 14th Floor
                                                         Reston, VA 20190-5656
                                                         Telephone: (703) 456-8000
                                                         Fax: (703) 456-8100
                                                         Email: rcahill@cooley.com

                                                         Counsel for Plaintiffs
Case 3:17-cv-00072-NKM-JCH Document 103-1 Filed 11/14/17 Page 5 of 13 Pageid#: 476




                   SECOND SUPPLEMENTAL CERTIFICATE OF SERVICE

          I hereby certify that on November 3, 2017, I electronically filed the Motion for Pro Hac

   Vice Admission of Julie E. Fink (with its initial certificate of service) with the Clerk of the Court

   using the CM/ECF system, and entered as Docket Entry 70. On November 9, 2017, I

   electronically filed a First Supplemental Certificate of Service for said motion (see Docket Entry

   91). I hereby further certify, on November 14, 2017, that I have also served the following

   additional non-ECF participant with said motion, via U.S. mail, First Class and postage prepaid:


   Jason Kessler
   207 Pineridge Lane
   Charlottesville, VA 22911


                                                         s/ Robert T. Cahill
                                                         Robert T. Cahill (VSB 38562)
                                                         COOLEY LLP
                                                         11951 Freedom Drive, 14th Floor
                                                         Reston, VA 20190-5656
                                                         Telephone: (703) 456-8000
                                                         Fax: (703) 456-8100
                                                         Email: rcahill@cooley.com

                                                         Counsel for Plaintiffs
Case 3:17-cv-00072-NKM-JCH Document 103-1 Filed 11/14/17 Page 6 of 13 Pageid#: 477




                   SECOND SUPPLEMENTAL CERTIFICATE OF SERVICE

          I hereby certify that on November 3, 2017, I electronically filed the Motion for Pro Hac

   Vice Admission of Christopher B. Greene (with its initial certificate of service) with the Clerk of

   the Court using the CM/ECF system, and entered as Docket Entry 71. On November 9, 2017, I

   electronically filed a First Supplemental Certificate of Service for said motion (see Docket Entry

   91). I hereby further certify, on November 14, 2017, that I have also served the following

   additional non-ECF participant with said motion, via U.S. mail, First Class and postage prepaid:


   Jason Kessler
   207 Pineridge Lane
   Charlottesville, VA 22911


                                                        s/ Robert T. Cahill
                                                        Robert T. Cahill (VSB 38562)
                                                        COOLEY LLP
                                                        11951 Freedom Drive, 14th Floor
                                                        Reston, VA 20190-5656
                                                        Telephone: (703) 456-8000
                                                        Fax: (703) 456-8100
                                                        Email: rcahill@cooley.com

                                                        Counsel for Plaintiffs
Case 3:17-cv-00072-NKM-JCH Document 103-1 Filed 11/14/17 Page 7 of 13 Pageid#: 478




                   SECOND SUPPLEMENTAL CERTIFICATE OF SERVICE

          I hereby certify that on November 3, 2017, I electronically filed the Motion for Pro Hac

   Vice Admission of Seguin L. Strohmeier (with its initial certificate of service) with the Clerk of

   the Court using the CM/ECF system, and entered as Docket Entry 72. On November 9, 2017, I

   electronically filed a First Supplemental Certificate of Service for said motion (see Docket Entry

   91). I hereby further certify, on November 14, 2017, that I have also served the following

   additional non-ECF participant with said motion, via U.S. mail, First Class and postage prepaid:


   Jason Kessler
   207 Pineridge Lane
   Charlottesville, VA 22911


                                                        s/ Robert T. Cahill
                                                        Robert T. Cahill (VSB 38562)
                                                        COOLEY LLP
                                                        11951 Freedom Drive, 14th Floor
                                                        Reston, VA 20190-5656
                                                        Telephone: (703) 456-8000
                                                        Fax: (703) 456-8100
                                                        Email: rcahill@cooley.com

                                                        Counsel for Plaintiffs
Case 3:17-cv-00072-NKM-JCH Document 103-1 Filed 11/14/17 Page 8 of 13 Pageid#: 479




                   SECOND SUPPLEMENTAL CERTIFICATE OF SERVICE

          I hereby certify that on November 6, 2017, I electronically filed the Motion for Pro Hac

   Vice Admission of Yotam Barkai (with its initial certificate of service) with the Clerk of the

   Court using the CM/ECF system, and entered as Docket Entry 78. On November 9, 2017, I

   electronically filed a First Supplemental Certificate of Service for said motion (see Docket Entry

   91). I hereby further certify, on November 14, 2017, that I have also served the following

   additional non-ECF participant with said motion, via U.S. mail, First Class and postage prepaid:


   Jason Kessler
   207 Pineridge Lane
   Charlottesville, VA 22911


                                                        s/ Robert T. Cahill
                                                        Robert T. Cahill (VSB 38562)
                                                        COOLEY LLP
                                                        11951 Freedom Drive, 14th Floor
                                                        Reston, VA 20190-5656
                                                        Telephone: (703) 456-8000
                                                        Fax: (703) 456-8100
                                                        Email: rcahill@cooley.com

                                                        Counsel for Plaintiffs
Case 3:17-cv-00072-NKM-JCH Document 103-1 Filed 11/14/17 Page 9 of 13 Pageid#: 480




                   SECOND SUPPLEMENTAL CERTIFICATE OF SERVICE

          I hereby certify that on November 6, 2017, I electronically filed the Motion for Pro Hac

   Vice Admission of Philip M. Bowman (with its initial certificate of service) with the Clerk of the

   Court using the CM/ECF system, and entered as Docket Entry 79. On November 9, 2017, I

   electronically filed a First Supplemental Certificate of Service for said motion (see Docket Entry

   91). I hereby further certify, on November 14, 2017, that I have also served the following

   additional non-ECF participant with said motion, via U.S. mail, First Class and postage prepaid:


   Jason Kessler
   207 Pineridge Lane
   Charlottesville, VA 22911


                                                        s/ Robert T. Cahill
                                                        Robert T. Cahill (VSB 38562)
                                                        COOLEY LLP
                                                        11951 Freedom Drive, 14th Floor
                                                        Reston, VA 20190-5656
                                                        Telephone: (703) 456-8000
                                                        Fax: (703) 456-8100
                                                        Email: rcahill@cooley.com

                                                        Counsel for Plaintiffs
Case 3:17-cv-00072-NKM-JCH Document 103-1 Filed 11/14/17 Page 10 of 13 Pageid#:
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                 SECOND SUPPLEMENTAL CERTIFICATE OF SERVICE

        I hereby certify that on November 6, 2017, I electronically filed the Motion for Pro Hac

 Vice Admission of Karen L. Dunn (with its initial certificate of service) with the Clerk of the

 Court using the CM/ECF system, and entered as Docket Entry 80. On November 9, 2017, I

 electronically filed a First Supplemental Certificate of Service for said motion (see Docket Entry

 91). I hereby further certify, on November 14, 2017, that I have also served the following

 additional non-ECF participant with said motion, via U.S. mail, First Class and postage prepaid:


 Jason Kessler
 207 Pineridge Lane
 Charlottesville, VA 22911


                                                      s/ Robert T. Cahill
                                                      Robert T. Cahill (VSB 38562)
                                                      COOLEY LLP
                                                      11951 Freedom Drive, 14th Floor
                                                      Reston, VA 20190-5656
                                                      Telephone: (703) 456-8000
                                                      Fax: (703) 456-8100
                                                      Email: rcahill@cooley.com

                                                      Counsel for Plaintiffs
Case 3:17-cv-00072-NKM-JCH Document 103-1 Filed 11/14/17 Page 11 of 13 Pageid#:
                                    482



                 SECOND SUPPLEMENTAL CERTIFICATE OF SERVICE

        I hereby certify that on November 6, 2017, I electronically filed the Motion for Pro Hac

 Vice Admission of William A. Isaacson (with its initial certificate of service) with the Clerk of

 the Court using the CM/ECF system, and entered as Docket Entry 81. On November 9, 2017, I

 electronically filed a First Supplemental Certificate of Service for said motion (see Docket Entry

 91). I hereby further certify, on November 14, 2017, that I have also served the following

 additional non-ECF participant with said motion, via U.S. mail, First Class and postage prepaid:


 Jason Kessler
 207 Pineridge Lane
 Charlottesville, VA 22911


                                                      s/ Robert T. Cahill
                                                      Robert T. Cahill (VSB 38562)
                                                      COOLEY LLP
                                                      11951 Freedom Drive, 14th Floor
                                                      Reston, VA 20190-5656
                                                      Telephone: (703) 456-8000
                                                      Fax: (703) 456-8100
                                                      Email: rcahill@cooley.com

                                                      Counsel for Plaintiffs
Case 3:17-cv-00072-NKM-JCH Document 103-1 Filed 11/14/17 Page 12 of 13 Pageid#:
                                    483



                 SECOND SUPPLEMENTAL CERTIFICATE OF SERVICE

        I hereby certify that on November 6, 2017, I electronically filed the Motion for Pro Hac

 Vice Admission of Joshua J. Libling (with its initial certificate of service) with the Clerk of the

 Court using the CM/ECF system, and entered as Docket Entry 82. On November 9, 2017, I

 electronically filed a First Supplemental Certificate of Service for said motion (see Docket Entry

 91). I hereby further certify, on November 14, 2017, that I have also served the following

 additional non-ECF participant with said motion, via U.S. mail, First Class and postage prepaid:


 Jason Kessler
 207 Pineridge Lane
 Charlottesville, VA 22911


                                                       s/ Robert T. Cahill
                                                       Robert T. Cahill (VSB 38562)
                                                       COOLEY LLP
                                                       11951 Freedom Drive, 14th Floor
                                                       Reston, VA 20190-5656
                                                       Telephone: (703) 456-8000
                                                       Fax: (703) 456-8100
                                                       Email: rcahill@cooley.com

                                                       Counsel for Plaintiffs
Case 3:17-cv-00072-NKM-JCH Document 103-1 Filed 11/14/17 Page 13 of 13 Pageid#:
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                   FIRST SUPPLEMENTAL CERTIFICATE OF SERVICE

        I hereby certify that on November 9, 2017, I electronically filed the Notice of

 Supplemental Service (with its initial certificate of service) with the Clerk of the Court using the

 CM/ECF system, and entered as Docket Entry 91. I hereby further certify, on November 14,

 2017, that I have also served the following additional non-ECF participant with said notice, via

 U.S. mail, First Class and postage prepaid:


 Jason Kessler
 207 Pineridge Lane
 Charlottesville, VA 22911


                                                       s/ Robert T. Cahill
                                                       Robert T. Cahill (VSB 38562)
                                                       COOLEY LLP
                                                       11951 Freedom Drive, 14th Floor
                                                       Reston, VA 20190-5656
                                                       Telephone: (703) 456-8000
                                                       Fax: (703) 456-8100
                                                       Email: rcahill@cooley.com

                                                       Counsel for Plaintiffs
